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                    EXHIBIT A
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                                                                     August 18, 2021


          Brian O’Connor Watson
          Riley Safer Holmes & Cancila LLP
          70 Madison St., Ste 2900
          Chicago, Illinois 60602
          bwatson@rshc-law.com

                               Re: Notice of Breach

         Dear Mr. Watson:

                 As you know, Mission Broadcasting, Inc. (“Mission”) acquired television station WNAC
         (“WNAC”) from WNAC, LLC on June 16, 2021. Pursuant to Section 19(b) of the Mission
         Retransmission Consent Agreement between Mission and CoxCom, LLC d/b/a Cox
         Communications (“Cox”), dated December 28, 2018 (the “Agreement”), the Agreement controls
         the retransmission of WNAC’s broadcast signal to Cox’s subscribers in the Providence and New
         Bedford area.

                 Nevertheless, on July 7, 2021, Cox filed a lawsuit (the “Lawsuit”) against Super Towers,
         Inc. (“Super Towers”) and WNAC, LLC (collectively, “Defendants”) alleging that a separate
         retransmission agreement among Cox, WNAC and Super Towers (the “WNAC Retransmission
         Agreement”) somehow governs the retransmission of that broadcast signal. The Lawsuit does not
         even mention the Agreement.

                Cox is continuing to prosecute the Lawsuit and, on August 13, 2021, has ostensibly paid
         Mission for the retransmission of WNAC’s broadcast signal to Cox’s subscribers in the Providence
         and New Bedford area pursuant to the WNAC Retransmission Agreement.

                 Cox’s filing and prosecution of the lawsuit and its August 13, 2021 payment are in breach
         of the Agreement.

                    Cox must remedy these breaches within thirty (30) days.




Austin   Bay Area   Beijing   Boston   Brussels   Chicago   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   Paris   Shanghai   Washington, D.C.
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      Mission reserves all rights.

                                         Regards,




                                         Matthew Solum, P.C.
